                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION - DETROIT

In re:                                         Case No.: 21-49336
Chika N. Orlu                                  Chapter 13
                                               Judge: Oxholm
Debtor
______________________________________/
Law Offices of Walter A. Metzen
Walter A. Metzen (P49779)
Omar “Ted” Badr (P70966)
Attorneys for Debtor(s)
3156 Penobscot Building
645 Griswold Street
Detroit, MI 48226
(313) 962-4656; Fax: (313) 334-7400
detroitbankruptcylawyer@gmail.com


OBJECTION TO PROOF OF CLAIM #15 OF THE MICHIGAN DEPARTMENT
                       OF TREASURY

      NOW COMES the Debtor, by and through her counsel, WALTER A. METZEN,
who hereby objects to the Proof of Claim of the State of Michigan Department of
Treasury (hereinafter referred to as the “State” or “claimant”) as follows:
   1. The Debtor filed a Petition under Chapter 13 of the Bankruptcy Code.
   2. Claimant filed its Proof of Claim on or about March 11, 2022.
   3. Claimant identifies the basis of its claim as state and local income taxes owed by
      the Debtor.
   4. The Claim states that the Debtor has unfiled income tax returns for the City of
      Detroit and the State of Michigan, causing the claim to include estimated amounts
      for the income tax liabilities owed in that year.



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   5. The Debtor has filed the 2017 Michigan and Detroit income tax returns.
   6. Copies of the signed returns have been furnished to the taxing authority. As such,
      the Proof of Claim is no longer accurate.
   7. Prior to filing this objection, Debtor’s counsel requested that the Proof of Claim be
      withdrawn or amended. As of the filing of this objection, the Proof of Claim has
      not been amended or withdrawn.


      WHEREFORE Debtor, respectfully requests that this Honorable Court disallow
Proof of Claim #15 filed by the State of Michigan Department of Treasury, in its entirety,
and for such other and further relief as this Honorable Court deems equitable and just,
including but not limited to award of attorney fees for time spent in dealing with this
matter.

                                       Respectfully Submitted,


Dated: June 1, 2022                    /s/ Walter Metzen
                                       Law Offices of Walter A. Metzen
                                       Walter A. Metzen (P49779)
                                       Omar “Ted” Badr (P70966)
                                       Attorneys for Debtor(s)
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                             CERTIFICATE OF SERVICE

      Walter A. Metzen certifies that on June 1, 2022, a copy of Objection to Proof of
Claim; Proposed Order Granting Objection to Proof of Claim; Notice of Objection
to Claim; Notice of Hearing; and Proof of Service was served by depositing same in
the U. S. Mail, postage prepaid, properly addressed as follows:



           Debtor                        Creditor                         Trustee
           Kurt C. Griggs-Swanson        Michigan Department of           David Ruskin
           325 Keelson Dr.               Treasury                         (by Electronic Notice)
           Detroit, MI 48215             By Electronic Notice Served on
                                         its attorney, Moe Freedman



      Dated: June 1, 2022                       /s/ Walter Metzen
                                                Law Offices of Walter A. Metzen
                                                Walter A. Metzen (P49779)
                                                Omar “Ted” Badr (P70966)
                                                Attorneys for Debtor(s)
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                                                      Judge: Oxholm
 Debtor
 ______________________________________/
                             NOTICE OF OBJECTION TO CLAIM
        Please take notice that the Debtor in the above action filed an Objection to your
     claim in the bankruptcy case.
       Your claim may be reduced, modified, or denied. You should read these papers
     carefully and discuss them with your attorney, if you have one.
       If you do not want the Court to deny or change your claim, then at least seven (7)
     days immediately preceding the hearing in this matter, you or your attorney must:
       1.       File with the Court a written response to the objection explaining your
     position at:

                                      United States Bankruptcy Court
                                      211 W Fort Street, Suite 2100
                                      Detroit, MI 48226
      If you mail your response to the Court for filing, you must mail it early enough so that
 the Court will receive it on or before the date stated above.
     You must also mail a copy to:

 Walter A. Metzen
 3156 Penobscot Building
 Detroit MI 48226

 David W. M. Ruskin
 1100 Travelers Tower
 26555 Evergreen Rd.
 Southfield, MI 48076-4251

         2.      Attend the hearing on the objection scheduled to be held on July 18, 2022 at
 1:30 p.m. in Courtroom 1875, United States Bankruptcy Court, 211 West Fort Street,
 Detroit MI 48226, unless your attendance is excused by mutual agreement between yourself
 and objector’s attorney. (Unless the matter is disposed of summarily as a matter of law, the
 hearing shall be a pre-trial conference only; neither testimony nor evidence will be received.
 A pre-trial scheduling order may be issued as a result of the pre-trial conference.)

     If you or your attorney do not take these steps, the Court may decide that you do
     not oppose the Objection to your claim, in which event the hearing will be
     cancelled, and the Objection sustained.

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 Dated: June 1, 2022                     /s/ Walter Metzen
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                                         Omar “Ted” Badr (P70966)
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                                                Judge: Oxholm
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 ______________________________________/


     ORDER GRANTING OBJECTION TO PROOF OF CLAIM #15 BY
            MICHIGAN DEPARTMENT OF TREASURY

       This matter having come on for hearing before the Court by way of the
    objection of the Debtor of the allowance of the claim of the above-
    referenced creditor, service having been made with a notice of hearing
    allowing a 33 day notice pursuant to Bankruptcy Rule 3007, a Notice of
    Objection having been served and a certificate of non-response having been
    filed with the Court;

      NOW THEREFORE IT IS HEREBY ORDERED THAT:
      The objection to the Proof of Claim filed by the above-referenced
    creditor is hereby granted. To the extent that the Chapter 13 Standing
    Trustee has previously made disbursements to such creditor, the Trustee
    shall not be obligated to recoup same.

      IT IS FURTHER ORDERED AS FOLLOWS:
      The claim of the Michigan Department of Treasury, Proof of Claim #15,
    shall be disallowed in its entirety.

      IT IS SO ORDERED.


                                      EXHIBIT A



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